Case: 22-1064    Document: 00118132130          Page: 1       Date Filed: 04/12/2024     Entry ID: 6635557




                     United States Court of Appeals
                                     For the First Circuit
                                        _____________________

      Nos. 22-1064, 23-1100

        SAVANNAH KINZER, individually and on behalf of all others similarly situated; HALEY
       EVANS, individually and on behalf of all others similarly situated; CHRISTOPHER MICHNO,
                        individually and on behalf of all others similarly situated,

                                          Plaintiffs, Appellants,

           SUVERINO FRITH, individually and on behalf of all others similarly situated; CEDRICK
             JUAREZ, individually and on behalf of all others similarly situated; FAITH WALSH,
            individually and on behalf of all others similarly situated; MACKENZIE SHANAHAN,
       individually and on behalf of all others similarly situated; COREY SAMUEL, individually and
       on behalf of all others similarly situated; ABDULAI BARRY, individually and on behalf of all
       others similarly situated; LINDSAY VUONG, individually and on behalf of all others similarly
       situated; SAMANTHA BERIMBAU, individually and on behalf of all others similarly situated;
          CAMILLE TUCKER-TOLBERT, individually and on behalf of all others similarly situated;
       ANA BELEN DEL RIO-RAMIREZ, individually and on behalf of all others similarly situated;
      LYLAH STYLES, individually and on behalf of all others similarly situated; KAYLA GREENE,
         individually and on behalf of all others similarly situated; SHARIE ROBINSON, individually
          and on behalf of all others similarly situated; JENNIFER OSAYANDE, individually and on
         behalf of all others similarly situated; BRITNEY IFEBOHR, individually and on behalf of all
      others similarly situated; KANAYA RYLAND, individually and on behalf of all others similarly
         situated; KIRBY BURT, individually and on behalf of all others similarly situated; LEAVER
            MICHEL, individually and on behalf of all others similarly situated; SUEPRIYA ADHI,
        individually and on behalf of all others similarly situated; ALICE TISME, individually and on
      behalf of all others similarly situated; CHARLES THOMPSON, individually and on behalf of all
         others similarly situated; CASSIDY VISCO, individually and on behalf of all others similarly
      situated; KELLY RIGLER, individually and on behalf of all others similarly situated; JUSTINE
            O'NEILL, individually and on behalf of all others similarly situated; SARITA WILSON,
        individually and on behalf of all others similarly situated; YURIN LONDON, individually and
                                     on behalf of all others similarly situated,

                                                Plaintiffs,

                                                    v.

                                    WHOLE FOODS MARKET, INC.,

                                           Defendant, Appellee.

                                          __________________
Case: 22-1064     Document: 00118132130           Page: 2       Date Filed: 04/12/2024        Entry ID: 6635557




                                                 JUDGMENT

                                            Entered: April 12, 2024

              This cause came on to be heard on appeal from the United States District Court for the
      District of Massachusetts and was argued by counsel.

               Upon consideration whereof, it is now here ordered, adjudged and decreed as follows: The
      district court's grant of summary judgment for Whole Foods Market, Inc. is vacated as to Savannah
      Kinzer's retaliation claim, and affirmed as to Haley Evans and Christopher Michno. Appeal No.
      22-1064 is dismissed for lack of appellate jurisdiction. The matter is remanded to the district court
      for further proceedings consistent with the opinion issued this day. Costs are awarded to appellant
      Savannah Kinzer, and all other parties shall bear their own costs.


                                                            By the Court:

                                                            Maria R. Hamilton, Clerk


      cc: Hon. Allison Dale Burroughs, Robert Farrell, Clerk, United States District Court for the
      District of Massachusetts, Shannon Erika Liss-Riordan, Matthew Carrieri, Matthew Patton, Anne
      Marie Estevez, Julie V. Silva Palmer, Michael L. Banks, Jason J. Ranjo, Terry D. Johnson, Andrew
      Buttaro, Polly Misra, David Paul Boehm
